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From: Lisa Drain

To: Lori Purifoy

Subject: Re: Insight to CCI Director"s Character
Date: Sunday, March 20, 2022 8:30:57 PM

Attachments: Justin DEPS Resignation pdf
Ashley Wisdom Letter.pdf

 

CAUTION - EXTERNAL:
Ms. Purifoy,

I am writing to you again to update you on events that transpired after J sent the last email.
Justin Lewis called me two hours after the email was sent, with no external prompting. He let
me know that following our conversation the night before, he was able to reflect on his actions
and inactions. He apologized to me for disappointing me, as well as himself. He let me know
that he has decided to submit his resignation letter and would like the opportunity to meet with
me and show me this letter as it would demonstrate the accountability he was now taking.

Today I met with him, and he provided me with a resignation letter as well as a reference letter
to former DFPS CCI Program Administrator Ashley Wisdom (please see attachments). After
reviewing the documents and having a long conversation, my confidence in his integrity has
been restored. He let me know that when I confronted him the previous evening, he didn’t take
responsibility in the moment because he was ashamed and afraid of losing the ability to
provide for his family. He thanked me for allowing him the opportunity to make attempts to
mend our friendship. While his inactions during the past few weeks greatly disappointed me, I
am proud of his courage to rectify the damage he participated in causing. J have every
confidence that he will return to making positive contributions to this world (though not at
DFPS).

While his text to me that referenced District Court Judge Janis Jack was inexcusable, I would
like to note a few things. He was inebriated when he sent the text. He has spoken to me, a
friend in confidence, previously on the frustrations around the litigation and his frustrations
with the Department’s inadequate responses, and never made a derogatory comment regarding
Judge Jack as a person. I didn’t respond to his disrespectful comment because this was wildly
out of character for him; it was truly a level of disrespect that I would never have anticipated
from him about anyone.

 

Towards the end of our conversation today, I let him know of the email that I sent yesterday. I
explained my reasons for sending the email, and he readily acknowledged he understood why
I took that action based on how our conversation ended. He expressed to me what appeared to
be genuine remorse for the comment, for what that is worth.

Justin has not asked that I write this follow up. I am doing so because I feel it is the right thing
to do. If I had the option to recall my previous email entirely, I would do so as he is already
facing serious consequences for standing up for what he feels is right in his convictions.
Additionally, I also want to say that at no point did I extend any ultimatum to Justin, as I feel
that would have cheapened any response from him.

Again, I am not asking for anything in response, but am available if verification, additional
information, or context is needed.
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Thank you for your time,

Lisa Drain
On Sat, Mar 19, 2022 at 10:48 AM Lisa Drain <lisamdrain@googlemail.com> wrote:
Ms. Purifoy,

 

I am writing to you in order to pass on a comment made to me regarding District Judge Janis
Graham Jack by DFPS Child Care Investigations Division Director Justin Lewis. The
comment I am referring to is Text 3 of 3, though I have included all texts exchanged on
Saturday March 12, 2022 between him and myself for context. I did black out the name of a
minor child he references (a child known to him, not related to DFPS).

I am providing this text as it may or may not be of interest to Judge Jack. The language is
insulting and may be considered threatening. Please believe that my intention is not to
attempt to cause any harm to her by sharing this.

The reason I am sharing this with you is because I feel Justin Lewis does not respect the
foster care litigation process and I have lost all professional confidence in him due to recent
events (finalized by a conversation that occurred last night between us). I have 15 years of
professional child welfare experience, however I burned out last year. While I have not
worked for DFPS in over a year, I am invested in our children being better served because
they continue to be failed. This will not end if DFPS leadership continues to refuse
accountability for systemic failures, disregard the guidance provided by legislature, and fail
to meet very basic expectations set by the court.

I am not asking for anything in response, but am available if verification, additional
information, or context is needed.

Thank you for your time,

Lisa Drain

LisaDrain
‘CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
‘when opening attachments or clicking on links. _
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| Texas Department of Family and Protective Services

 

Commissioner
Jaime Masters, MS, MET

March 20, 2022

Associate Commissioner Robert Richman,

It is after great thought and reflection that I am writing this letter to you, resigning my position as
Director of Child Care Investigations with DFPS. The events of the past three weeks have
cemented in my head and heart what I feared most when I took this job a year ago — state office
would not be a good long-term fit for me.

While I feel that the work that I have taken part in has brought great growth and improvement to
the division, I cannot acquiesce to the politica] nature of the job. I can’t even begin to say that J
understand the political pressures associated with being in the top leadership — but as someone
who generally abhors politics, it is something I can no longer deal with at the expense of my
family, my health, and my self-worth.

When we gathered in the day-long meeting in the commissioner’s conference room on 03/14
going day-by-day it was apparent that blame for the lack of upward movement of information
came from multiple DFPS divisions (including high level regional staff), SSCC staff, and HHSC
personnel. We spoke about the different levels of supervision in different division that had
knowledge at multiple times in the investigation without elevating the alarm. There were also
numerous mandatory reporters that failed to report alleged offenses against children.

Despite this, two of my staff were put on public display to the legislature, and consequently the
media, while other divisions (with far more folks involved) were not mentioned, When Ms.
Wisdom found out about the allegations and totality of the issues, she immediately called for a
high-risk staffing with our complex investigation division and the assigned Special Investigation
personnel and after that, a second one with her direct supervisor. While it is my expectation that
certain cases be elevated up, there was no written DFPS policy requiring it prior to this situation.
Though she did not successfully immediately elevate the concerns to her supervisor or myself,
she tried and continued to direct the investigation — which is more than I can say about staff in
other divisions. Yet staff in other divisions — the actual divisions responsible for the placement
and movement of the children in our care — sit quietly in the shadows hiding while the public
political flogging goes on. We talk about morale in the RCCI division often. What better way to
kill morale of a group of hardworking individuals than for them to see this knowing that others
failed as well with no mention.

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Considering these things, I must step down from my position effective immediately to preserve
my family, my health, and my own opinion of myself. One thing I told myself I would never do
when I accepted this position is sacrifice my ideals while dealing with political pressures and
throw any person “in front of the bus” and the way this has played out ... well it just doesn’t sit
right in my gut.

I am, and will be, forever grateful for the opportunities and professional advancement and
achievement that this position as presented me. This position has been my most proud
professional accomplishment to date, and I have made friendships and connections that I hope
will last a lifetime. But as a close friend whose opinion I value more than almost any other
person outside my family pointed out to me — I have become a weekend father, sacrificed my
physical and mental health, and seemingly started to sacrifice who “I” am for this position.
Giving “myself” up for professional achievement is not, and has never been, worth it to me.

My family needs me home and I needed to speak my mind in an attempt to “protect the
unprotected” to be able to look at myself in the mirror each morning and not be unhappy with
who I see looking back at me.

Sincerely,

 
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Texas Department of Family and Protective Services

 

Commissioner
Jaime Masters, MS, MFT

March 20, 2022
To Whom it May Concern,

I am writing this letter of reference on behalf of Ms. Ashley Wisdom. I have known Ms. Wisdom
since November 2016 when she was a DFPS Investigator working out of the Dallas Children’s
Advocacy Center (DCAC). I was working as a Special Investigator for DFPS and was
temporarily assigned to the DCAC.

From 2016 until the fall of 2021, I watched Ms. Wisdom work as an investigator and then as a
unit supervisor for several years. I have not met a DFPS investigator that was as invested in her
work as Ms. Wisdom. She showed compassion to victims and worked with families to keep
children safe while working on helping the families stay together, if possible. As a supervisor,
she cared about her workers and would often put herself out in the field to assist her crew and
worked late into the night in an attempt to stay afloat in a region that was consistently
understaffed and overworked. It was because of this dedication to her trade and the people that
worked with her that I recruited her to come work for me in the Child Care Investigations
Division of DFPS in the fall of 2021.

Ms. Wisdom came into the division, managing four regions in Central, North Central, and East
Texas, eager to learn and soaking up information like a sponge. She immediately tackled morale
and supervision issues in one region while working on improving investigation quality and
outcomes across all her area of responsibility. I could not have been happier with the job she was
doing. Unfortunately, a bad case broke in early March 2022 that took place in one of the regions
Ms. Wisdom covered. Intense media coverage ensued and the blame for a system-wide
breakdown in communication was placed on the shoulders of Ms. Wisdom and one of the
supervisors working under her. This total blame of two people for a system failure was
unwarranted.

In short (and I can be contacted personally to answer any other questions you may have), Ms.
Wisdom is a skilled investigator, good supervisor, and all-around good person. As I said above,
you would be hard pressed to find someone who cares more about families and children — and
the safety of both — than Ms. Wisdom.

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Thank you for your time in reading this letter, and please consider Ms. Wisdom for this position.
T have full confidence in her ability to succeed in anything she does. Please reach out to me if
you have any questions or need other information. The contacts below are my personal contact
numbers/email.

Thank you,

J ewis

Director of Child Care Investigations (former)
Texas Department of Family and Protective Services
Cell: 972-268-1169

Email: lewis.justin3819@gmail.com
